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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )
     vs.                                       )    Case No. S1-4:07CR0399 JCH (TCM)
                                               )
THEOLA A. BLACKMON,                            )
JUAN AVENDANO,                                 )
JEFFREY HILL,                                  )
NORMA A. ORTIZ,                                )
DEMETRIUS BLACKMON, and                        )
WENDY N. BROWN,                                )
                                               )
                       Defendants.             )


                                          ORDER

       This matter is before the Court on the Government's Motion for Findings of Fact by

the District Court to Continue the Trial Date Beyond Limits Set by the Speedy Trial Act

[Doc. 44].

       1.     The Indictment in this case, charges six defendants with a drug trafficking

conspiracy and a money laundering conspiracy. The acts allegedly occurred both in the

Eastern District of Missouri and California. The money laundering charge is also complex

as it also allegedly involves the structured purchase and negotiation of financial instruments.

       2.     The discovery in this case includes numerous postal money orders, Western

Union money orders and Express mail records pertaining to the shipment of drug proceeds

underlying the money laundering charge. A two volume discovery packet has been made

available to the defense with an approximately 62 page investigative report. The defense has

needed time to review the discovery in this case.
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       3.     Scheduling has presented problems with respect to the number of defendants,

the number of events that are potentially subject to a motion to suppress, the location of

Defendant's residences and out of town defense counsel. There has also been changes in

defense counsel which has caused delays in this matter.

       4.     The Government has been working on the investigation for months and is

prepared to try this case within the time limits set forth under the Speedy Trial Act.

       5.     Pursuant to Title 18, Unites States Code, Sections 3161(h)(8)(A) and (B)(i) and

(ii) and for all the foregoing reasons, the Court grants the Government's Motion to Continue

the Trial Date Beyond Limits of the Speedy Trial Act.

       The Court finds that the ends of justice served by continuing this case outweigh the

best interest of the public and the defendants in a speedy trial. Any objection to this Order

or these findings shall be made within ten days of this Order.




                                           /s/ Thomas C. Mummert, III
                                           THOMAS C. MUMMERT, III
                                           UNITED STATES MAGISTRATE JUDGE

Dated this 7th day of November, 2007.




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